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                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION
 ____________________________________

 In Re: COOK MEDICAL, INC.,
 IVC FILTERS MARKETING, SALES         Case No. 1:14-ml-2570-RLY-TAB
 PRACTICES AND PRODUCTS                     MDL No. 2570
 LIABILITY LITIGATION
 ____________________________________

 This Document Relates to:

 All Actions
 ____________________________________
                     [PROPOSED] CASE MANAGEMENT ORDER NO. 32:
                   AMOUNT IN CONTROVERSY CERTIFICATION PROCESS

         On review of the Court of Appeals’ decision in Sykes v. Cook Inc., 72 F.4th 195 (7th Cir.

 2023), and in consideration of that decision’s potential impact on the jurisdiction of the Court in

 many other cases, this Court determines that it has the authority and obligation to implement a

 procedure to ensure that it has subject-matter jurisdiction in every case included in this MDL.

         1.        Within sixty (60) days of entry of this Order, every plaintiff in this MDL must

 certify whether the amount in controversy in that plaintiff’s action exceeds $75,000, exclusive of

 interests and costs.

         2.        Plaintiffs shall provide the certification using Amount in Controversy Certification

 Form attached as Exhibit 1. Plaintiffs shall serve the completed forms on the Cook Defendants in

 accordance with the process set forth in Third Amended Case Management Order No. 6.

         3.        Plaintiffs who lack the evidence to make this certification must dismiss their cases

 without prejudice using the form attached to this Order as Exhibit 2.

         4.        Failure by a plaintiff to timely comply with this Order will result in a presumption

 that the plaintiff could not make a good-faith showing that the amount-in-controversy requirement

 has been met. Within thirty (30) days after the passage of the deadline in Paragraph 1 above, the
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 Cook Defendants and the Plaintiffs’ Steering Committee shall jointly submit to the Court a list of

 plaintiffs who have not complied with this Order. The Court will dismiss such cases for failure to

 prosecute under Federal Rule 41(b) by separate order.

          5.       To address this jurisdictional issue in any cases filed in the future and included in

 this MDL, the Court has simultaneously amended Case Management Order No. 4 to require

 amount-in-controversy certification in any newly filed cases. The purpose of that amendment is

 to establish a common 30-day deadline after filing in, or transfer to, the MDL for plaintiffs in any

 future cases to submit the PFS, categorization form and records, and the certification form in

 support of establishing the amount-in-controversy. Plaintiffs’ counsel are instructed to consider

 fully whether any future filter case meets all requirements of subject-matter jurisdiction before

 filing that case in federal court. Failure to comply with this requirement may result in an order

 imposing reasonable costs and attorneys’ fees.




 Dated:                                                  ___________________________
                                                         RICHARD L. YOUNG, JUDGE
                                                         United States District Court
                                                         Southern District of Indiana




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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


  In Re: COOK MEDICAL, INC., IVC FILTERS
  MARKETING, SALES PRACTICES AND                        Case No. 1:14-ml-2570-RLY-TAB
  PRODUCTS LIABILITY LITIGATION                         MDL No. 2570

  [Plaintiff Name, Case Number]


                 AMOUNT IN CONTROVERSY CERTIFICATION FORM

 Plaintiff’s Name:                     ________________________________________________

 Plaintiff’s Case Number:              ________________________________________________

 Plaintiff’s Case Categorization:     ________________________________________________

        Certification: The undersigned counsel has (1) reviewed Plaintiff’s case, including all

 available medical records, billing records, and imaging records and reports; (2) reviewed Case

 Management Order No. 32 and the Circuit Court’s opinion in Sykes v. Cook Inc., 72 F.4th 195 (7th

 Cir. 2023); and (3) discussed this case and the requirement to establish the $75,000 amount-in-

 controversy with Plaintiff. Based on that review and discussion with Plaintiff, the undersigned

 counsel makes the following certifications regarding Plaintiff’s case:

 Question 1:
 Upon review, counsel has a good-faith basis to assert the damages in Plaintiff’s action exceed
 $75,000, exclusive of interests and costs: _____Yes ______ No

 Question 2(a): If Yes:

 The medical and other evidence relied on to make this certification has been produced to the Cook
 Defendants or is being produced with this Certification Form. _____Yes ______ No

 Question 2(b): If No:

 Plaintiff’s counsel has submitted contemporaneously with this Certification a signed Stipulation
 of Dismissal for voluntary dismissal using the form provided as Exhibit B to CMO-32. _____Yes
 ______ No
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                                  139367



        The undersigned counsel declares under the penalty of perjury that the foregoing is true

 and correct.

        Plaintiff’s Counsel Name:           __________________________________

        Plaintiff’s Counsel’s Firm:         __________________________________

        Plaintiff’s Counsel’s Signature:    __________________________________




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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

  IN RE: COOK MEDICAL, INC., IVC
  FILTERS MARKETING, SALES PRACTICES AND                        Case No. 1:14-ml-2570-RLY-TAB
  PRODUCT LIABILITY LITIGATION                                            MDL No. 2570


  This Document Relates to:

  [Plaintiff Name] – Case No. [Add]


                  STIPULATION OF DISMISSAL WITHOUT PREJUDICE

        Pursuant to Case Management Order No. 32, and upon review of the Circuit Court’s

 decision in Sykes v. Cook Inc., 72 F.4th 195 (7th Cir. 2023), Plaintiff[s] in the above-captioned

 case[s] acknowledges that, based on review of the evidence, the amount in controversy in this

 matter does not exceed the jurisdictional threshold of $75,000, exclusive of interest and costs, as

 required for this Court’s exercise of subject matter jurisdiction. See 28 U.S.C. § 1332(a).

        Accordingly, and pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff and

 the Cook Defendants stipulate to the dismissal of all claims in this action without prejudice for

 lack of subject-matter jurisdiction. Each party shall bear its own fees and costs.

 [Note: Plaintiffs represented by the same law firm may file a single stipulation.]

 Dated: __________ 2023

 /s/_________________                          /s/_____________
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 Attorney for Plaintiffs                       Attorney for Defendants
